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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                  :   Criminal No. 1:21-CR-00618
                                          :
             v.                           :   (Judge Berman Jackson)
                                          :
RILEY JUNE WILLIAMS                       :   (Electronically Filed)


                      MOTION TO COMPEL DISCOVERY


      AND NOW comes the Defendant, Riley June Williams, by her attorneys,

Lori J. Ulrich, Trial Chief, Assistant Federal Public Defender, A.J. Kramer,

Federal Public Defender, and Brandon R. Reish, Assistant Federal Public

Defender, and files the following Motion to Compel Discovery. In support thereof,

it is averred as follows:

   1. Ms. Williams has been indicted on multiple charges arising out of her

alleged participation in the events at the United States Capitol on January 6, 2021.

Jury selection and trial are scheduled to commence on November 7, 2022.

   2. In preparation for trial, undersigned counsel has requested to visit and view

the office suite of the Speaker of the House of Representatives, Nancy Pelosi, in

the United States Capitol. This request was made orally to counsel for the

Government, Assistant United States Attorney Samuel Dalke, during a conference

call on August 19, 2022, and in writing, via e-mail, on September 6, 2022.
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   3. On September 9, 2022, counsel for the Government advised undersigned

counsel that he has forwarded our request to counsel for the U.S. Capitol Police,

who has, in turn, passed on the request to a contact at the House of

Representatives. However, as of this writing, Government counsel has not

received a response to our request.

   4. Fed. R. Crim. P. 16(a)(1)(E) provides, in relevant part:

      (E)    Documents and Objects. Upon a defendant's request, the
             government must permit the defendant to inspect . . . buildings
             or places . . . if the item is within the government's possession,
             custody, or control and:
             (i)    the item is material to preparing the defense;
             (ii)   the government intends to use the item in its case-in-chief
                    at trial; . . .
   5. Pursuant to Rule 16(a)(1)(E)(i) and (ii) this request is appropriately made,

given that Ms. Williams is charged, inter alia, with theft of government property,

in violation of 18 U.S.C. § 641 and 2 (Count 4). The government property at issue

is a laptop computer that was allegedly taken from Speaker Pelosi’s office suite on

January 6, 2021.

   6. In at least one search warrant application and one criminal complaint in other

cases, the Government has either alleged that other individuals took the laptop

computer, or witnesses have identified a male as taking the laptop computer. At

this juncture, it is unclear to the defense whether the Government is conceding that

Ms. Williams did not take the computer herself and is therefore only proceeding on
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an aiding and abetting theory of liability or whether Government still maintains

that Ms. Williams took the computer.

    7. In any event, it is imperative for defense counsel to view the layout of

Speaker Pelosi’s office suite to effectively prepare a defense to the charge of theft

of government property.

    8. Undersigned counsel does not doubt the good faith efforts of Government

counsel to obtain a response to our request to view Speaker Pelosi’s office,

however given the proximity of trial in this matter, undersigned counsel seeks a

judicial Order to ensure that a viewing/inspection can occur prior to trial.1

      WHEREFORE, the defendant, Riley June Williams, respectfully requests

that this Honorable Court issue an Order directing that defense counsel be

permitted to inspect the office suite of Speaker Pelosi.

                                                   Respectfully submitted,

Date: September 19, 2022                            /s/ Lori J. Ulrich
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1
 A similar motion to compel is pending in the matter of United States v. Lyons, 1:21-cr-79-
BAH, docket entry 52.
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                         CERTIFICATE OF SERVICE

      I, Lori J. Ulrich, Esquire, of the Federal Public Defender’s Office, do hereby

certify that I served a copy of the foregoing Motion to Compel Discovery via

Electronic Case Filing, and/or by placing a copy in the United States mail, first

class in Harrisburg, Pennsylvania, and/or by hand delivery, addressed to the

following:

      SAMUEL DALKE, ESQUIRE
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      MICHAEL GORDON, ESQUIRE
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      RILEY JUNE WILLIAMS



Date: September 19, 2022                     /s/ Lori J. Ulrich
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